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1      BOIES SCHILLER FLEXNER LLP                                 SUSMAN GODFREY L.L.P.
       David Boies (admitted pro hac vice)                        Bill Carmody (admitted pro hac vice)
2      333 Main Street                                            Shawn J. Rabin (admitted pro hac vice)
       Armonk, NY 10504                                           Steven M. Shepard (admitted pro hac vice)
3
       Tel: (914) 749-8200                                        Alexander Frawley (admitted pro hac vice)
4      dboies@bsfllp.com                                          Ryan Sila (admitted pro hac vice)
                                                                  1301 Avenue of the Americas, 32nd Floor
       Mark C. Mao, CA Bar No. 236165
5                                                                 New York, NY 10019
       Beko Reblitz-Richardson, CA Bar No.
                                                                  Tel.: (212) 336-8330
6      238027
                                                                  bcarmody@susmangodfrey.com
       44 Montgomery St., 41st Floor
7                                                                 srabin@susmangodfrey.com
       San Francisco, CA 94104
                                                                  sshepard@susmangodfrey.com
       Tel.: (415) 293-6800
8                                                                 afrawley@susmangodfrey.com
       mmao@bsfllp.com
                                                                  rsila@susmangodfrey.com
9      brichardson@bsfllp.com
                                                                  Amanda K. Bonn, CA Bar No. 270891
       James Lee (admitted pro hac vice)
10                                                                1900 Avenue of the Stars, Suite 1400
       Rossana Baeza (admitted pro hac vice)
                                                                  Los Angeles, CA 90067
11     100 SE 2nd St., 28th Floor
                                                                  Tel.: (310) 789-3100
       Miami, FL 33131
                                                                  abonn@susmangodfrey.com
12     Tel.: (305) 539-8400
       jlee@bsfllp.com                                            MORGAN & MORGAN
13     rbaeza@bsfllp.com                                          John A. Yanchunis (admitted pro hac vice)
                                                                  Ryan J. McGee (admitted pro hac vice)
14     Alison L. Anderson, CA Bar No. 275334
                                                                  Michael F. Ram, CA Bar No. 104805
       M. Logan Wright
15                                                                201 N. Franklin Street, 7th Floor
       725 S Figueroa St., 31st Floor
                                                                  Tampa, FL 33602
       Los Angeles, CA 90017
16                                                                Tel.: (813) 223-5505
       Tel.: (213) 995-5720
                                                                  jyanchunis@forthepeople.com
17     alanderson@bsfllp.com
                                                                  rmcgee@forthepeople.com
       mwright@bsfllp.com
                                                                  mram@forthepeople.com
18
                                      UNITED STATES DISTRICT COURT
19                                  NORTHERN DISTRICT OF CALIFORNIA
20
        ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21      JULIAN SANTIAGO, and SUSAN LYNN
        HARVEY individually and on behalf of all                  DECLARATION OF MARK KEEGAN IN
22      other similarly situated,                                 SUPPORT OF PLAINTIFFS’ MOTION
                                                                  FOR CLASS CERTIFICATION
23                        Plaintiffs,
         v.                                                       Judge: Hon. Richard Seeborg
24
                                                                  Courtroom 3 – 17th Floor
25      GOOGLE LLC,                                               Date: October 5, 2023
                                                                  Time: 1:30 p.m.
26                        Defendant.
27

28

        __________________________________________________________________________________________________________________
                       KEEGAN DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1                                     DECLARATION OF MARK KEEGAN

2             I, Mark Keegan, declare as follows.

3             1.       Counsel for the Rodriguez Plaintiffs retained me to provide expert analysis and, if

4     requested, expert testimony. I have personal knowledge of the matters set forth herein and am

5     competent to testify.

6             2.       I submit this declaration in connection with Plaintiffs’ Motion for Class

7     Certification.

8             3.       Attached is a true and correct copy of the Expert Report that I prepared in

9     connection with this matter, dated February 20, 2023. The opinions I provided therein are true and

10    correct to the best of my knowledge.

11

12    I declare under penalty of perjury under the laws of the United States of America that the foregoing is

13    true and correct. Executed this 18th day of July, 2023, at Rye, New York.

14
                                                           /s/ __________________________
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28    ___________________________________________________________________________________________________________________
                   KEEGAN DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

                                                   )
                                                   )
Anibal Rodriguez, et al.,                          )
                                                   )
                       Plaintiffs,                 )
                                                   )
                            v.                     ) Case No.: 3:20-cv-04688-RS
                                                   )
Google LLC,                                        )
                                                   )
                       Defendant.                  )
                                                   )
                                                   )




                            Expert Report of Mark Keegan




Keegan & Donato Consulting, LLC
February 20, 2023
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Exhibits
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Summary of Assignment
1. Keegan & Donato Consulting LLC was retained by counsel for the Plaintiffs in this action
       (“Counsel”) to design and execute a survey to gauge certain aspects of prospective Class
       Members’ smartphone and tablet use (“device use”) and Google Gmail e-mail account use.

2. To this end, I designed and executed a nationally representative general population study of
       1,039 U.S. respondents. Qualifying respondents were asked a series of questions designed to
       collect relevant information about their current device use and Google Gmail e-mail account
       use.

3. A list of the documents I relied upon in formulating my opinions appears as Exhibit 2.

4. Based on my review of the Fourth Amended Complaint and directions from Counsel, I
       assume the following for purposes of my analysis:

              a. The Class Period begins in 2016 and is continuing through the present (“Class
                  Period”).1

              b. The two proposed classes are described in the Fourth Amended Complaint,2 with the
                  difference being whether the people used device(s) running the Android operating
                  system (the first class) or device(s) using a non-Android operating system (the
                  second class) (“Classes” with members of the Classes being “Class Members”).

              c. Class Members are limited to people within the United States.3




1
    For purposes of my survey, the specific start date in 2016 was not relevant.
2
    Fourth Amended Complaint ¶ 249.
3
    Ibid, ¶ 17.
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    5. Keegan & Donato Consulting is being compensated for my work on this assignment at the
          hourly rate of $600. Keegan & Donato Consulting’s compensation is not dependent on the
          outcome of this case.

    6. As discussed in detail below, my study conforms to best practices of survey research. All
          findings are presented with a reasonable degree of scientific certainty.

    7. The methodology and results of my study are presented in detail in the sections that follow.


    Firm Overview
   8.     I am a principal at Keegan & Donato Consulting, a consulting firm serving litigators and their
          clients. Our areas of expertise include marketing analysis, intellectual property, consumer
          survey research, damages analysis, forensic economic analysis, and related disciplines. Our
          firm designs and executes methodologically sound consumer survey research studies and
          conducts objective evaluation of existing survey research as well as collaborates on a wide
          range of marketing and complex commercial litigation issues. We are also regularly engaged
          by clients for non-litigation consulting assignments related to marketing research and
          strategy.

   9.     I have over 20 years of experience conducting consumer research. Over the course of my
          career, I have personally conducted over 1,000 consumer surveys reaching more than 250,000
          consumers. Many of these surveys have been admitted into evidence in federal courts, state
          courts, at arbitration, to the Trademark Trial and Appeal Board, the National Advertising
          Division of the Council of Better Business Bureaus, and the United States International Trade
          Commission. I have often served as a rebuttal witness. In the past four years, I have been
          deposed or testified at trial in conjunction with my involvement in litigation matters 35 times.

   10.    I am a graduate of the University of Georgia’s Principles of Market Research Program. This
          comprehensive course of study, developed in concert with the Market Research Institute
          International (MRII), is a post-graduate program for marketing industry professionals
          covering all aspects of the market research process. Coursework is based on the MRII’s
          Market Research Core Body of Knowledge (MRCBOK), a compilation of the underlying
          principles and essential skills that comprise the market research process. Certification is
          conferred only upon participants who demonstrate mastery of concepts presented in 284
          detailed module studies across 13 core areas of market research, as determined via rigorous


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          proctored examinations. The University of Georgia’s Principles of Market Research Program
          is endorsed by all major market research and insights industry associations, including
          ESOMAR and the Insights Association.

   11.    I am a member of the American Marketing Association (AMA), the preeminent professional
          association for marketing practitioners and scholars. From the AMA I have earned the
          designation of Professional Certified Marketer (PCM). The AMA confers the PCM
          certification upon individuals who have demonstrated a mastery of comprehensive and core
          marketing knowledge and principles. PCM certification requires rigorous testing, ongoing
          professional development, and a commitment to upholding the highest standards in the
          marketing field. The AMA only accepts into the PCM certification program applicants with
          demonstrated professional experience in the field of marketing.

   12.    My educational background additionally includes a J.D. from Brooklyn Law School and a
          B.A. in History from Pace University. I have completed coursework in the MBA program at
          the Lubin School of Business at Pace University and in Harvard University’s Corporate
          Finance Certificate program. I have also served as a Registered Representative, National
          Association of Securities Dealers (Series 7, expired).

   13.    Keegan & Donato Consulting is a member of ESOMAR, the leading global association for
          market, social, and opinion research, the American Association for Public Opinion Research
          (AAPOR), a professional organization of more than 2,000 public opinion and survey research
          professionals in the United States and from around the world, the International Trademark
          Association (INTA), and the Association for Consumer Research (ACR). I have published in
          an ESOMAR compendium on the benefits of methodologically sound marketing research. I
          have taught CLE-accredited courses on survey research for litigation at the Florida Bar’s
          Annual IP Symposium and have addressed the Pennsylvania Bar Association’s Intellectual
          Property Law group with a presentation on the building blocks of survey research for
          litigation, consumer research best practices, and current trends in the industry.

   14.    Additional information about my credentials is provided at Exhibit 1 to this report. Exhibit 1
          also lists the matters in which I have provided testimony over the last four years. A listing of
          the documents I considered in formulating my opinions appears as Exhibit 2.




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    Methodology
    Study Integrity

    15. This study of 1,039 U.S. respondents was designed and executed in accordance with accepted
         standards of survey research. This survey follows the guiding principles for survey research
         for the purpose of litigation as outlined by Shari Diamond,4 including but not limited to:

             •   Appropriate universe selection and sampling frame;

             •   Rigorous and valid survey design that is probative of the relevant issues in the matter;

             •   Inclusion of representative, qualified respondents;

             •   Use of procedures to minimize potential biases in data collection;

             •   Use of objective, non-leading questions;

             •   Use of procedures to reduce guessing among respondents; and

             •   Full analysis and reporting of survey data.

    16. Additional treatises commonly referenced by researchers conducting survey research for
         litigation were also instrumental in the design of the current research.5

    Study Objectives

    17. The primary objective of the study that I designed and conducted in this case was to obtain
         information regarding prospective Class Members, focusing on their device use and whether
         such individuals have one or more Google Gmail accounts.

    Study Population

    18. Surveys are conducted by collecting data from a sample, or subset, of the population of
         interest, i.e., the larger group to which the study results may be projected. This survey is
         intended to provide information relevant to the proportion of U.S. respondents who may be


    4
     Diamond, S. (2011). “Reference Guide On Survey Research,” in Reference Manual on Scientific
    Evidence. Federal Judicial Center/National Academy of Sciences, p. 359-423.
    5
     See, for example, McCarthy, J.T. (2020). McCarthy on Trademarks and Unfair Competition, 5th Ed.;
    Jacoby, J. (2013). Trademark Surveys, Volume 1: Designing, Implementing, and Evaluating Surveys.

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        Class Members—i.e., people using device(s) running the Android operating system and/or
        device(s) using a non-Android operating system and may meet the requirements to be
        included in the prospective Classes.

    19. Consistent with typical marketing research practice, only respondents aged 18 and older were
        permitted to participate in the study. Respondents who met the study population definition
        were identified through the use of screening questions that qualified respondents on these
        criteria (see Questionnaire at Exhibit 3).

    Study Design

    20. This research employed a study design wherein respondents were questioned about their
        current smartphone and tablet use and whether they have one or more Google Gmail
        accounts. A range of standard marketing research techniques were employed to address issues
        that are relevant to this matter.

    21. After qualifying respondents through a screening module (discussed below), the main portion
        of the study asked respondents questions pertaining to the following issues:

            •   Whether they currently have a smartphone for their own personal use and, if yes,
                which operating system is running on that device (their “primary device”);

            •   How long they have had their primary device and whether their primary device is
                their first smartphone, replaced an older smartphone, or is maintained in addition to
                another smartphone or smartphones;

            •   Whether they currently have one or more Google Gmail e-mail accounts and, if yes,
                how many; and

            •   How many Apple iPhones, Apple iPads, Android phones, and/or Android tablets they
                currently use.

    22. Consistent with standard marketing research practice, an attention filter and several
        demographic questions were also administered.




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    Data Collection

    23. This survey was completed through online interviewing via the Internet. Online interviewing
           is the dominant data collection method used in marketing research today.6 Data collection for
           this study took place in February 2023.

    24. The respondent sample for this project was provided by the Dynata7 consumer panel. Dynata
           is a leading provider of online sample for research projects in the U.S. and across the globe.
           Dynata maintains an actively managed online panel of millions of consumers. Membership in
           the panel is by invitation only, and Dynata employs and enforces a range of policies and
           procedures to ensure “panel health”—i.e., that the panel is nationally representative and that
           respondents provide honest and accurate answers to questions. Additional panel health checks
           include participation limits, screening questions, digital fingerprinting, IP verification, anti-
           automation filtering, random and illogical responding, capturing and removing flatliners and
           speeders, among others. Dynata utilizes a “double opt-in” procedure in its recruitment
           process, which helps to verify the respondent’s identity and ensure the panel is populated by
           quality participants.8

    25. I have personally used Dynata as a sample provider for many consumer research studies, am
           familiar with its panel health procedures, and am satisfied that it provides high quality,
           representative respondents. The Dynata consumer panel constituted the sampling frame of the
           study.

    26. The survey was programmed using Qualtrics, an industry-leading online survey software
           platform. All survey programming was performed by Keegan & Donato Consulting. The
           survey software facilitates the programming and execution of advanced survey designs,
           custom coding, complex skip logic, and advanced rotation and randomization of questions,
           answer options, and stimuli. All such options were employed wherever appropriate.




    6
        Global Market Research 2022: An ESOMAR Industry Report, p. 106-109.
    7
        https://www.dynata.com.
    8
        Ibid.

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    Sampling

    27. Surveys typically, and in this case, are designed such that the results are reliable at the 95
           percent confidence level. 9 A total of 1,039 respondents qualified for and completed the
           questionnaire (see full disposition of contacts at Exhibit 7). Samples of this size are
           associated with a maximum margin of error of ±3.0 percentage points at 95 percent
           confidence.10

    Bias Management

    28. All efforts were made to present the survey questions in an objective, unbiased, and non-
           leading format. Respondents were presented with a “don’t know,” “no opinion,” or equivalent
           answer option wherever appropriate throughout the survey to minimize guessing.

    29. It is common in consumer survey research for the researcher to employ various types of
           randomization of questions and answer options across respondents. Randomization is an
           important tool that researchers use to minimize the potential for order bias (i.e., order effects)
           to impact the study’s results. Order bias refers to a respondent’s tendency to select the first
           answer in a given list of answer options regardless of the question content11 or answer the
           first question in a series of questions differently than later questions.12 In this study,
           randomization was used wherever possible to minimize the potential for order bias.

    30. To ensure the integrity of the data, I sought to identify “speeders” for potential removal from
           the sample. Respondents who complete a survey too quickly may introduce respondent-


    9
      “Traditionally, scientists adopt the 95% level of confidence, which means that if 100 samples of the same
    size were drawn, the confidence interval expected for at least 95 of the samples would be expected to
    include the true population value.” See Diamond, S. (2011). “Reference Guide On Survey Research,” in
    Reference Manual on Scientific Evidence. Federal Judicial Center/National Academy of Sciences, p. 381.
    10
         Statistical testing performed at: https://www.surveysystem.com/sscalc.htm.
    11
       Visser, P. S., Krosnick, J. A., & Lavrakas, P. J. (2000). Survey research. In H. T. Reis & C. M. Judd
    (Eds.), Handbook of Research Methods in Social and Personality Psychology. Cambridge University Press,
    p. 240.
    12
      See Diamond, S. (2011). “Reference Guide On Survey Research,” in Reference Manual on Scientific
    Evidence. Federal Judicial Center/National Academy of Sciences, p. 396: “To control for order effects, the
    order of the questions and the order of the response choices in a survey should be rotated, so that, for
    example, one-third of the respondents have Product A listed first, one-third of the respondents have Product
    B listed first, and one-third of the respondents have Product C listed first. If the three different orders are
    distributed randomly among respondents, no response alternative will have an inflated chance of being
    selected because of its position, and the average of the three will provide a reasonable estimate of response
    level.”

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          related error into the survey data. Respondents were to be flagged if they completed the
          survey in less than one-third of the median completion time across all respondents in the
          sample.13 Three respondents were removed from the sample based on this criterion.

    31. I additionally reviewed the data for low-quality and nonsense responses. Low-quality
          responses are not reflective of actual consumer opinions and therefore introduce biases into
          the data. Based on this criterion, eight respondents were removed from the sample. All
          removed responses are provided at Exhibit 6.

    32. Consistent with standard survey methodologies and practices, the screening portion of the
          questionnaire also employed security questions, including a CAPTCHA question to prevent
          bots and other automated respondents from participating in the study. Respondents who did
          not pass the security measures were not permitted to complete the survey.

    33. The study was conducted under “double blind” conditions—neither the panel provider nor the
          survey participants knew the purpose of the study or the sponsoring party. Double blind
          research is designed to prevent external or circumstantial bias from impacting the survey
          process and results.

    Questionnaire

    34. In consumer surveys, data are collected by means of a questionnaire. The language and
          mechanics of the questionnaire are provided in summary below. Screenshots of the
          questionnaire as it was viewed by respondents are provided at Exhibit 3.

    35. The questionnaire opened with a CAPTCHA question as a security measure. This question
          type confirms that the study participants are live respondents and prevents bots and other
          automated respondents from participating in the study. Only respondents who completed the
          CAPTCHA correctly were permitted to continue with the survey.

    36. Upon passing the CAPTCHA, respondents were presented with a standard survey research
          statement that conveyed relevant information about duration, privacy issues, etc., and


    13
      Less than one-third of the median completion time is the industry standard for identifying speeders for
    removal. See for example, Kugler, M.B. and Henn, Jr., R.C., (2022). “Internet Surveys in Trademark
    Cases.” in Trademark and Deceptive Advertising Surveys: Law, Science, and Design, Second Edition.
    Diamond, S.S. & Swann, J.B. (eds.), American Bar Association, p. 305-306. See also,
    https://www.responsivmr.com/ news/evaluating-and-ensuring-survey-respondent-quality.

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        instructed respondents not to guess if they did not know the answer to a question but, instead,
        to use the “Don’t know” option that was provided when appropriate. Only respondents who
        indicated that they understood the instructions were allowed to continue with the survey.

    37. The next question asked respondents to provide their age. Only respondents aged 18 and
        older were permitted to continue with the survey:

            Which of the following age brackets contains your age on your last birthday?
            m Under 18
            m 18 - 30
            m 31 - 40
            m 41 - 50
            m 51 - 60
            m 61 - 70
            m 71 or older


    38. On the next screen, respondents were asked to indicate the state in which they reside. This
        question was for demographic information purposes only and was not used to filter out any
        respondents:




    39. Respondents were next asked to provide their gender:

            What is your gender?
            m Male
            m Female
            m Non-binary or other
            m Prefer not to answer


    40. On the next screen, respondents were presented with the following instruction not to guess at
        any of their answers:




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            For the remainder of this survey, if you do not know or do not have an opinion
            about any of the questions, please select the "don't know / no opinion" answer
            option. Please do not guess at any of your answers and please do not use the
            Internet or any other sources to inform your answers.


    41. In the next question, respondents were asked to indicate whether they currently have a
        smartphone for their own personal use:

            Which of the following applies to you personally?

             m I do currently have a smartphone for my own personal use
             m I do not currently have a smartphone for my own personal use
             m Don’t know


    42. Respondents who indicated that they do not currently have a smartphone for their own
        personal use skipped to the demographics portion of the questionnaire. Respondents who
        indicated that they do currently have a smartphone for their own personal use—defined as
        their “primary device”—were asked which operating system they have on their primary
        device:

            For the remainder of the survey the smartphone that you have for your own
            personal use will be referred to as your "primary device."
            What operating system do you have on your primary device?
            m iOS (Apple iPhone)
            m Android (Samsung, Google Pixel, etc.)
            m Other (Windows, Blackberry, etc.)
            m Don't know


    43. Next, respondents were asked to indicate how long they have had their primary device:

            How long have you had your primary device?
            m One month or less
            m More than one month, but less than one year
            m One year to five years
            m More than five years
            m Don’t know


    44. The next question was designed to collect information on whether the respondent was a first
        time or more experienced smartphone user. Respondents were asked:



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            Which of the following most accurately describes your primary device?
            m My primary device replaced my previous smartphone
            m I maintain my primary device in addition to another smartphone or smartphones
            m My primary device is my first smartphone
            m Don’t know


    45. In the next part of the survey, respondents were probed to determine whether they currently
        have one or more Google Gmail e-mail accounts, and if yes, how many. Respondent were
        asked:

            Do you currently have one or more Google Gmail e-mail accounts? A Gmail
            account is an e-mail account that has an e-mail address that ends in
            @gmail.com.
            m I do have one or more Gmail e-mail accounts
            m I do not have one or more Gmail e-mail accounts
            m Don’t know


    46. Respondents who indicated that they have one or more Google Gmail e-mail accounts were
        asked to indicate the number of Gmail accounts they currently have:

            How many Gmail e-mail accounts do you currently have?

             m             m           m           m            m             m

             1             2           3            4            5 or more    Don’t know



    47. Finally, respondents were asked about the overall number of personal mobile devices that
        they currently use. These questions employed dynamic piping—i.e., respondents who
        previously indicated that their primary device is a smartphone running Apple iOS operating
        system were not presented with a “0” option for the Apple iPhone question (and the same for
        Android smartphone users for the Android smartphone question). Respondents were asked:




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            How many of each of the following personal mobile devices do you currently
            use?
            Apple iPhone (iOS)
             m            m             m            m

             0             1            2            3 or more

            Apple iPad (iOS)
             m            m             m            m

             0             1            2            3 or more

            Android Phone (Samsung, Google Pixel, etc.)
             m            m             m            m

             0             1            2            3 or more

            Android tablet (Samsung, Lenovo, etc.)

             m            m             m            m

             0             1            2            3 or more


    48. The main questionnaire concluded with standard demographic questions regarding education
        level and household income, as well as a final attention filter question. The full questionnaire
        is provided at Exhibit 3.


    Sample Characteristics
    49. The sample for this study is nationally representative, providing a robust, projectable
         overview of the device use and Google Gmail e-mail use of prospective Class Members.
         Sample demographic characteristics for the study participants are shown in Table 1 below.




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    Table 1. Sample characteristics - demographics14

                                                             % Respondents
                                                                (n=1,039)
                           Age
                            18 - 30                               18.7
                            31 - 40                               22.1
                            41 - 50                               12.6
                            51 - 60                               19.8
                            61 - 70                               17.9
                            71 or older                            8.9
                           Education
                            Less than high school                  1.9
                            High school graduate                  21.8
                            Some college                          22.4
                            2-year degree                         13.0
                            4-year degree                         26.7
                            Master’s / Professional degree        11.0
                            Doctorate                              3.3
                           Household income
                            Under $35,000                         21.2
                            $35,000 - $49,999                     17.1
                            $50,000 - $74,999                     22.2
                            $75,000 - $99,999                     15.3
                            $100,000 - $124,999                    7.0
                            $125,000 - $149,999                    6.8
                            $150,000 or more                       8.1
                            I prefer not to answer                 2.2
                           Gender
                            Male                                   50.0
                            Female                                 49.7
                            Non-binary or other                     0.4
                            Prefer not to answer                    0.0
                           Region
                            Northeast                             17.4
                            South                                 40.2
                            Midwest                               20.2
                            West                                  22.1




    14
         Percentages may not add to 100 due to rounding.

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    Findings
    50. The results of this study of 1,039 prospective Class Members provides information about
           current device use and Google Gmail e-mail account use among U.S. consumers. Findings for
           the specific metrics administered to survey respondents are presented in the sections below.15

     Smartphone Use & Operating Systems

    51. Respondents were first asked about whether they currently have a smartphone for their own
           personal use. As shown in Table 2 below, the vast majority of survey respondents—96.0
           percent—reported that they currently have a smartphone for their own personal use. Just 3.3
           percent of respondents reported that they currently do not have a smartphone and 0.8 percent
           selected the “don’t know” option.

    Table 2. Current Smartphone Use Among Prospective Class Members

                                                                                   %
                       (Base: All respondents)                      n           (n=1,039)

                       I do currently have a smartphone for        997             96.0
                       my own personal use
                       I do not currently have a smartphone         34              3.3
                       for my own personal use
                       Don’t know                                       8           0.8


    52. The survey findings also provide information regarding the smartphone operating systems
           that are currently in use by prospective Class Members. As shown in Table 3 below, there
           was nearly an even split between Apple iOS users (48.1 percent) and Android users (51.0
           percent).

    Table 3. Current Use of Smartphone Operating Systems Among Prospective Class Members

                                                                                    %
                       (Base: Smartphone Users)                     N            (n=997)

                       iOS (Apple iPhone)                           480            48.1
                       Android (Samsung, Google Pixel, etc.)        508            51.0
                       Other (Windows, Blackberry, etc.)                1            0.1
                       Don’t know                                       8            0.8



    15
         Percentages may not add to 100 due to rounding.

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    Length of Ownership

    53. Respondents who indicated owning a smartphone were next asked about how long they have
        owned their primary device. A majority of prospective Class Members who currently own a
        smartphone for their own personal use (60.1 percent) indicated owning their primary device
        for between one and five years. Nearly one quarter of smartphone owners (23.0 percent)
        reported owning their primary device for more than one month but less than one year. A full
        summary of these findings is shown in Table 4 below.

    Table 4. Length of Ownership of Primary Device Among Prospective Class Members

                                                                                   %
              (Base: Smartphone Users)                             N            (n=997)

              One month or less                                     34             3.4
              More than one month but less than one year           229            23.0
              One year to five years                               599            60.1
              More than five years                                 130            13.0
              Don’t know                                                5          0.5


    54. Respondents were also asked about their level of experience with regard to smartphone
        ownership. As shown in Table 5 below, a majority of respondents (69.8 percent) indicated
        that their current smartphone replaced a previous smartphone.

    Table 5. Level of Experience with Primary Device Among Prospective Class Members

                                                                                   %
              (Base: Smartphone Users)                             N            (n=997)

              My primary device replaced my previous               696            69.8
              smartphone
              My primary device is my first smartphone             219            22.0
              I maintain my primary device in addition to           61             6.1
              another smartphone or smartphones
              Other                                                 10             1.0
              Don’t know                                            11             1.1




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    Google Gmail Accounts

    55. Respondents were also asked about their use of Google Gmail e-mail accounts. As shown in
          Table 6 below, Gmail use was common among prospective Class Members, with 84.1 percent
          of current smartphone users reporting having at least one Gmail e-mail account.

    Table 6. Google Gmail E-mail Account Use Among Prospective Class Members

                                                                                        %
                (Base: Smartphone Users)                                 N           (n=997)

                I do have one or more Gmail e-mail accounts              838             84.1
                I do not have one or more Gmail e-mail                   143             14.3
                accounts
                Don’t know                                                16              1.6


    56. Whereas a majority of current smartphone users with a Google Gmail e-mail account (51.7
          percent) reported having just one Gmail account, having multiple Gmail accounts was also
          common. Table 7 below provides the breakout of the number of current Gmail accounts
          reported by survey respondents. Among all respondents with at least one Gmail account
          (n=838), the average number of Gmail accounts reported was 1.8 accounts per user.16

    Table 7. Number of Google Gmail E-mail Accounts Currently Held by Prospective Class Members

                      (Base: Smartphone Users with                                %
                      at least one Gmail account)                N             (n=838)

                      1                                          433             51.7
                      2                                          251             30.0
                      3                                           91             10.9
                      4                                           28              3.3
                      5 or more                                   32              3.8
                      Don’t know                                     3            0.4


    Specific Device Use

    57. Finally, current smartphone users were asked to provide information regarding the number of
          personal mobile devices—i.e., Apple iPhones, Apple iPads, Android phones, and/or Android


    16
      For the mean calculation, the answer option “5 or more” was counted as five devices. “Don’t know”
    responses were excluded from the mean calculation.

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        tablets—they currently use. These numbers are provided for each type of device in Tables 8
        through 11 below.

     Table 8. Number of Apple iPhones in Use by Prospective Class Members

                                                                            %
                   (Base: Smartphone Users)                 N            (n=997)

                   0                                        486            48.7
                   1                                        459            46.0
                   2                                         39             3.9
                   3 or more                                 13             1.3



    Table 9. Number of Apple iPads in Use by Prospective Class Members

                                                                            %
                   (Base: Smartphone Users)                 N            (n=997)

                   0                                        685            68.7
                   1                                        276            27.7
                   2                                         29             2.9
                   3 or more                                    7           0.7



    Table 10. Number of Android Phones in Use by Prospective Class Members

                                                                            %
                   (Base: Smartphone Users)                 N            (n=997)

                   0                                        431            43.2
                   1                                        488            48.9
                   2                                         57             5.7
                   3 or more                                 21             2.1




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    Table 11. Number of Android Tablets in Use by Prospective Class Members

                                                                                       %
                         (Base: Smartphone Users)                     N             (n=997)

                         0                                           699              70.1
                         1                                           264              26.5
                         2                                            27               2.7
                         3 or more                                        7            0.7




    58. The mean numbers of each type of device in use by survey respondents are provided in Table
           12 below.17

    Table 12. Mean Number Devices in Use by Prospective Class Members18

                                                                  Mean Number of
                                                                  Devices in Use

                                  Apple iPhone                                1.1
                                  Apple iPad                                  1.1
                                  Android Phone                               1.2
                                  Android Tablet                              1.1


    59. Across all four types of devices, prospective Class Members reported using an average of 1.9
           devices.

    60. These survey results are common evidence across both Classes that provide information
           regarding characteristics and metrics tied to members of each of the proposed Classes, with a
           focus on current device use and Google Gmail e-mail account use among prospective Class
           Members.




    17
         For the mean calculations, the answer option “3 or more” was counted as three devices.
    18
         Means are calculated among respondents reporting use of at least one of each type of device.

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    Conclusions
    61. The findings of this study of 1,039 prospective Class Members provide empirical evidence
        regarding the current device use and Google Gmail e-mail account use among prospective
        Class Members.

    62. Specifically, among prospective Class Members:

            •   96.0 percent currently have a smartphone for their own personal use;

            •   48.1 percent reported using Apple iOS on their primary device;

            •   51.0 percent reported using Android on their primary device;

            •   60.1 percent have had their primary device for between one and five years;

            •   69.8 percent reported that their current primary device replaced a previous
                smartphone; and

            •   84.1 percent reported having one or more Google Gmail e-mail accounts, with the
                average being 1.8 Gmail accounts per account holder.

    63. The study findings also show that among users reporting using at least one of each type of
        device, prospective Class Members use, on average, 1.1 Apple iPhones, 1.1 Apple iPads, 1.2
        Android phones, and 1.1 Android tablets. Across all four types of devices, prospective Class
        Members reported using an average of 1.9 devices.



    I reserve the right to supplement and revise this report and the opinions expressed herein based on
    the availability of new information.




                                                               February 20, 2023
     Mark Keegan                                               Date




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Exhibit 1—Mark Keegan C.V.




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Mark T. Keegan, Esq.
Partner, Keegan & Donato Consulting, LLC

Education
§    Principles of Market Research Program, University of Georgia (graduated 2021)

      − Post-graduate program for industry professionals covering all aspects of the
        market research process

      − Coursework based on the Market Research Core Body of Knowledge
        (MRCBOK), a compilation of the underlying principles and essential skills that
        comprise the market research process developed by Market Research Institute
        International (MRII)

      − Certification conferred upon participants who demonstrate mastery of concepts
        presented in 284 detailed module studies across 13 core areas of market research

      − Endorsed by all major market research and insights industry associations,
        including ESOMAR and the Insights Association
§    Professional Certified Marketer (PCM), American Marketing Association (2015 – present)
      − AMA certification for individuals who have demonstrated a mastery of
        comprehensive and core marketing knowledge and principles
      − Designation conferred only upon successful completion of rigorous testing
        spanning full range of marketing principles and concepts

      − Ongoing professional development and education credits required on annual basis

      − PCM recipients must have demonstrated professional experience in the field of
        marketing
§    Juris Doctor, Brooklyn Law School (graduated 1995)
§    Bachelor of Arts, History, Pace University (graduated 1990)
§    MBA Coursework, Pace University, Lubin School of Business (1990 – 1991)
§    Corporate Finance Program, Harvard University (coursework)


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Professional Memberships

§    Admitted to the Bar in the states of New York and Connecticut
§    Member, ESOMAR (World Association of Opinion and Marketing Research
     Professionals)
§    Member, International Trademark Association (INTA)
§    Member, American Marketing Association (AMA)
§    Member, American Association for Public Opinion Research (AAPOR)
§    Member, Association for Consumer Research (ACR)
§    Registered Representative, National Association of Securities Dealers (Series 7,
     expired)

Current Employment

§    Keegan & Donato Consulting, LLC, Litigation Consultant, Founding Partner (7/2011
     – present)

Consumer Research Experience

§    Designed and executed over 1,000 consumer research studies reaching more than
     250,000 respondents for corporate and litigation clients over the course of two-decade
     career
§    Focus on trademark and marketing research with principal areas of study including
     consumer confusion, trade dress, dilution, secondary meaning, genericness, false
     advertising, consumer perception, consumer understanding, and other consumer
     research issues
§    Represented a mix of both plaintiffs and defendants in litigation matters spanning a
     broad range of products, services, and industries
§    Submitted survey research expert reports in relevant venues including federal courts,
     state courts, at arbitration, to the National Advertising Division of the Council of
     Better Business Bureaus, and to the Trademark Trial and Appeal Board
§    Founder and owner of two successful marketing and consumer research consulting
     firms
§    Regularly testify to consumer behavior research, findings, and related issues at trials,
     depositions, hearings, and other proceedings


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§    Qualified to testify as an expert in the field of consumer survey research at federal
     court trials:
            -   BuzzBallz, LLC v. Jem Beverage Co., U.S. District Court (Central District
                of California), the Honorable William D. Keller presiding
            -   Christopher Lewert v. Boiron, Inc., U.S. District Court (Central District of
                California), the Honorable André Birotte, Jr. presiding
            -   Coty Inc., et al. v. Excell Brands LLC, U.S. District Court (Southern
                District of New York), the Honorable Jesse M. Furman presiding
            -   Bodum U.S.A., Inc. v. A Top New Casting, Inc., U.S. District Court,
                Northern District of Illinois, the Honorable Matthew F. Kennelly presiding
            -   BillFloat Inc., d/b/a SmartBiz Loans v. Collins Cash Inc., d/b/a Smart
                Business Funding, et al., U.S. District Court (Northern District of
                California), the Honorable Edward M. Chen presiding
§    Qualified as a survey expert by numerous federal court judges (pre-trial)
§    Develop and execute consumer research studies using industry-accepted
     methodologies, cutting-edge technologies, and industry-leading consumer panel
     partners

Marketing and Other Relevant Experience

§    Served as a marketing consultant to private clients and have advised on a wide range
     of issues including product development and rollout, advertising, consumer feedback
     and intelligence, the product life-cycle, and other issues concerning marketing and
     marketing research
§    Formulated winning brand positioning strategies as a branding expert for some of the
     best-known consumer brands and services including General Electric (GE), Nike,
     Pepsi, Subaru, AOL, Excite, NBC, and others
§    Analyzed and evaluated comprehensive marketing campaigns for a broad range of
     corporate clients to determine their impact on consumers
§    Evaluated all components of integrated marketing communications including
     advertising, public relations, packaging, sales promotions, and point of sale materials,
     among others
§    Developed testimony on marketing messages and their intended influence on
     consumer understanding and behavior

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Previous Employment

§    Keegan & Company LLC, Founding Partner (9/2001 – 12/2015)
     Designed and executed consumer research studies, conducted complex litigation
     consulting, and developed marketing and economic analyses for clients across a range
     of industries
§    Information Markets Corp, Program Manager (2000 – 2001)
     Managed enterprise-wide marketing and product development. Developed use cases
     and conducted consumer market research. Coordinated with multiple partners
     including AOL, Excite, and NBC.
§    Affiliation Networks, Inc., Project Manager (1999 – 2000)
     Produced online advertising solutions for Fortune 500 clients. Coordinated creative
     team of account managers, designers, programmers and copywriters.
§    UpTick Technologies, Marketing Consultant (1999)
     Managed the creation of innovative marketing products for large brokerage software
     provider
§    Cosmos Internet Solutions, Marketing Consultant (1998 – 1999)
     Developed marketing strategy for business ISP and hosting provider as well as Web
     site marketing and development for clients
§    FactSet Research Systems, Product Development (1996 – 1998)
     Formulated product and communications strategies for leading integrated financial
     and economic database provider
§    Warren Keegan Associates, Inc., Marketing Consultant (1992 – 1996)
     Marketing consultant to clients across a range of industries. Edited and contributed
     content to marketing textbooks and other academic marketing publications.
§    BMW of North America, Inc., Graduate Appointment (1991)
     Reviewed, analyzed, and cataloged broad-based market research on consumer
     preferences and attitudes in the automobile industry




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Submitted Surveys Excluded by Courts*

“Criticism is an inevitable concomitant of being a trademark-survey expert.” Jacoby, J. (2013).
Trademark Surveys, Volume I: Designing, Implementing, and Evaluating Surveys, p. 87.

§     Kudos, Inc. v. Kudoboard, LLC, et al. (2021). This Squirt-style survey was designed
      to test for a likelihood of confusion between two competing brands of employee
      recognition software among users and likely purchasers of this type of software. The
      Court disagreed with the survey universe, opining that a narrower population
      definition should have been employed. A rebuttal report that I submitted in this matter
      was accepted by the Court.
§     The Episcopal Church, et al. v. The Right Reverend Mark J. Lawrence, et al. (2019).
      In this Teflon-style survey, I interviewed Episcopalians regarding the potential
      genericness of the mark THE EPISCOPAL CHURCH. The Court disagreed with the
      survey universe, opining that the population definition should have included non-
      Episcopalians.
§     Warner Brothers Entertainment, Inc., et al. v. The Global Asylum, Inc. (2012). A
      deficiency in the pleadings (the client’s failure to submit my resume among other
      credentials) led to the court excluding this survey at a preliminary injunction hearing.
      I did not testify in this matter.

Lectures, Presentations & Publications

§     Squirt vs. Eveready: Battle of the Titans, 9th Annual Intellectual Property Law
      Symposium, hosted by The Florida Bar Continuing Legal Education Committee and
      Business Law Section, April 12-13, 2018. CLE-accredited presentation.
§     Panel Power: Online Panel Sampling for Litigation Surveys, 8th Annual Intellectual
      Property Law Symposium, hosted by The Florida Bar Continuing Legal Education
      Committee and Business Law Section, March 30-31, 2017. CLE-accredited
      presentation.
§     Evaluating a Brand's Equity in a Nascent Market, ESOMAR World Research, The
      EUREKA's Project - Success Stories of Market Research, 2016.
§     Consumer Survey Research for Litigation: With Great Data Comes Great Power.
      Presentation before the Pennsylvania Bar Association, Intellectual Property Law
      Group, 12/8/2014.

*
    Lifetime. Court opinions available upon request.


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Continuing Education

§    Survey-Based Techniques for Optimizing Prices and Products: Overview and Best
     Practices, ESOMAR Webinar, 1/18/2023.
§    Eureka! The Science and Art of Insight, ESOMAR Webinar, 12/8/2022.
§    Online Sample Fraud: Causes, Costs & Cures, Insights Association Webinar, 2/11/2022.
§    Quantifying Unjust Enrichment, Fox Forensic Accounting, 10/6/2021.
§    Questionnaire Design Best Practices, ESOMAR/University of Georgia Webinar,
     5/19/2021.
§    Making Online Samples More Representative, ESOMAR Webinar, 3/17/2021.
§    Intelligence 360: Solicited + Unsolicited Customer Opinion, ESOMAR Webinar,
     2/17/2021.
§    The Future of Online Polling After 2020, ESOMAR Webinar, 12/16/2020.
§    The Opportunity for UX Research, ESOMAR/University of Georgia Webinar, 12/8/2020.
§    BigSurv20: Big Data Meets Survey Science, Online Conference, November/December
     2020.
§    International Trademark Association (INTA), 141st Annual Meeting (2019), Attendee,
     May 2019.




Contact Information

Keegan & Donato Consulting, LLC
31 Purchase Street, Ste. 3-4
Rye, NY 10580
(914) 967-9421
mark@keegandonato.com




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                                                                                    31 Purchase Street, Ste. 3-4
                                                                                          Rye, New York 10580
                                                                                                 914.967.9421
                                                                                        www.keegandonato.com




Mark Keegan Testimony List

Depositions (Past Four Years)
Case Caption                                    Court/Venue                                 Client
Tequila Los Abuelos S.A De C.V. (Fortaleza)     United States Patent and Trademark          Plaintiff
v. Podlaska Wytwórnia Wódek “Polmos” S.A.       Office, Trademark Trial and Appeal          (Opposer)
                                                Board
Aman Group, S.à.r.l. v. Aman Spirits LLC, et    United States District Court, Central       Plaintiff
al.                                             District of California, Western Division

Steven Robert Prescott, et al. v. Reckitt       United States District Court, Northern      Defendant
Benckiser LLC                                   District of California
S10 Entertainment & Media, LLC v. Samsung       United States District Court, Central       Plaintiff
Electronics Co., LTD, et al.                    District of California
Nestlé USA, Inc., et al. v. Ultra               United States District Court, Western       Defendants
Distribuciones Mundiales S.A. de C.V., et al.   District of Texas, San Antonio Division

Stitch, LTD v. TikTok, Inc., et al.             United States District Court, Southern      Plaintiff
                                                District of California
Van Leeuwen Ice Cream, LLC v. Rebel             United States District Court, Eastern       Plaintiff
Creamery LLC                                    District of New York
DarkOwl, LLC v. ArkOwl LLC and ArkOwl           United States District Court, District of   Defendants
Corporation                                     Colorado
Chasom Brown, et al. v. Google LLC              United States District Court, Northern      Plaintiffs
                                                District of California
BillFloat Inc., d/b/a SmartBiz Loans v.         United States District Court, Northern      Defendants
Collins Cash Inc., d/b/a Smart Business         District of California
Funding, et at.
Kenco Bucket Trucks LLC v. Versabucket          District Court, Harris County, Texas,       Defendants
LLC, et al.                                     113th Judicial District
EBIN New York, Inc. v. SIC Enterprise, Inc.,    United States District Court, Eastern       Plaintiff
et al.                                          District of New York
Kudos, Inc. v. Kudoboard, LLC, et al.           United States District Court, Northern      Plaintiff
                                                District of California



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Case Caption                                      Court/Venue                                 Client
Master Inspector Certification Board, Inc. v.     United States Patent and Trademark          Plaintiff
Examination Board of Professional Home            Office, Trademark Trial and Appeal          (Petitioner)
Inspectors, Inc.                                  Board
Solid 21 Inc. v. Richemont North America,         United States District Court, Southern      Defendants
Inc. et al.                                       District of New York
Watching Time, LLC v. International               United States Patent and Trademark          Plaintiff
Watchman, Inc.                                    Office, Trademark Trial and Appeal          (Petitioner)
                                                  Board
Diamond Resorts U.S. Collection                   United States District Court, Southern      Defendants
Development, LLC, et al. v. Newton Group          District of Florida, West Palm Beach
Transfers, LLC, et al.                            Division
Fair Isaac Corporation v. Fido Alliance, Inc.     United States Patent and Trademark          Defendant
                                                  Office, Trademark Trial and Appeal          (Applicant)
                                                  Board
Solid 21, Inc. v. Breitling U.S.A. Inc., et al.   United States District Court, District of   Defendants
                                                  Connecticut
Juul Labs, Inc. v. Eonsmoke, LLC d/b/a 4X         United States District Court, District of   Defendants
PODS, et al.                                      New Jersey
Restoration Hardware, Inc., et al., v.            United States District Court, Southern      Plaintiffs
Bungalow Home, LLC                                District of Ohio, Western Division
United States of America ex. rel., Yoash          United States District Court, Eastern       Defendants
Gohil v. Sanofi U.S. Services Inc., et al.        District of Pennsylvania
Alo, LLC v. Acadia Malibu, Inc., d/b/a Alo        United States District Court, Central       Plaintiff
House Recovery Centers, et al.                    District of California
Farjad Fani, et al. v. Shartsis Friese LLP, et    JAMS Arbitration, JAMS Reference No.        Claimants
al.                                               1100104777
Solid 21, Inc. v. Ulysse Nardin USA Inc., et      United States District Court, Southern      Defendants
al.                                               District of Florida
The Shoppes at River Station, LLC v. College      Superior Court of Fulton County, State of   Plaintiff
Park Retail Investors, LLC                        Georgia
Spartan Chemical Company, Inc. v. Ecolab,         United States District Court, Northern      Plaintiff
Inc.                                              District of Ohio, Western Division




                                                                                     KEEGAN_EXHIBITS_9
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Case Caption                                Court/Venue                                 Client
Allergan USA, Inc. v. Imprimis              United States District Court, Central       Defendant
Pharmaceuticals, Inc.                       District of California, Southern Division

The Episcopal Church, et al. v. The Right   United States District Court, District of   Plaintiffs
Reverend Mark J. Lawrence, et al.           South Carolina, Charleston Division
Spangler Candy Company v. Tootsie Roll      United States District Court, Northern      Plaintiff
Industries, LLC                             District of Ohio, Western Division –
                                            Toledo
FCOA LLC v. Foremost Title & Escrow         United States District Court, Southern      Defendant
Services, LLC                               District of Florida
J-B Weld Company, LLC v. The Gorilla Glue   United States District Court, Northern      Defendant
Company                                     District of Georgia




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Trials & Hearings (Lifetime)
Case Caption                      Court/Venue                                 Client            Type
BillFloat Inc., d/b/a SmartBiz    United States District Court, Northern      Defendants        Trial
Loans v. Collins Cash Inc.,       District of California
d/b/a Smart Business
Funding, et al.
Identity Intelligence Group,      United States District Court, District of   Plaintiff         Hearing
LLC v. Rocket Mortgage, LLC       Arizona
Amarussein Investments            American Arbitration Association, New       Respondents       Hearing
Luxembourg S.a.r.L. v. Signet     York, New York
Jewelers Brands Limited and
Sterling Jewelers, Inc.
Bodum U.S.A., Inc. v. A Top       United States District Court, Northern      Defendant         Trial
New Casting, Inc.                 District of Illinois, Eastern Division

Coty Inc., et al. v. Excell       United States District Court, Southern      Defendant         Trial
Brands, LLC                       District of New York
Christopher Lewert, et al., v.    United States District Court, Central       Plaintiffs        Trial
Boiron, Inc., et al.              District of California
BuzzBallz, LLC v. BuzzBox         United States District Court, Central       Plaintiff         Trial
Beverages, Inc., et al.           District of California




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About Us
                                  Mark Keegan brings a wide breadth of experience to Keegan &
                                  Donato Consulting, having spent over two decades formulating case
                                  strategies in complex litigation. As a founding partner of Keegan &
                                  Donato Consulting, Mr. Keegan has actively consulted on a variety of
                                  litigation issues ranging from marketing and international business
                                  to consumer research for Lanham Act claims.

                           Prior to his work with Keegan & Donato Consulting, Mr. Keegan
                           assisted a diverse range of companies as a marketing strategist and
operations manager. From working with top brands to create innovative online advertising
solutions to positioning and communicating a company’s competitive advantage, Mr. Keegan’s
practical execution of successful marketing strategies has benefited several organizations.

Mr. Keegan received his law degree from Brooklyn Law School (1995) and is licensed to
practice in New York and Connecticut. His undergraduate work was completed at Pace
University where he received a Bachelor of Arts in history.



                                  Tony Donato has served as a consultant in complex litigation
                                  matters since 2004. He has a broad range of experience in research,
                                  strategy, survey design & execution, data analysis and case
                                  management. Mr. Donato has consulted on a wide variety of
                                  marketing, intellectual property, and consumer behavior cases
                                  covering trademark, copyright, patent, best efforts, advertising,
                                  business damages, consumer surveys, business ethics, and other
                                  issues.

Mr. Donato has a strong analytical background which he developed in his prior employment as
a member of the research team at Harvard Medical School's Division on Addictions. He is the
co-author of several peer-reviewed journal articles.

Mr. Donato received a Master of Public Policy from Georgetown University (2002) and a
Bachelor of Arts in politics from Ursinus College (2000).




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Exhibit 2—Documents Considered




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Documents Considered - Anibal Rodriguez, et al. v. Google, LLC

Court Documents
Complaint
First Amended Complaint
Second Amended Complaint
Third Amended Complaint
Fourth Amended Complaint
Exhibit 34 to Plaintiffs’ Motion for Leave to File Fourth Amended Complaint, Google’s Supp’l Responses to
Plaintiffs’ Interrogatories, Set Six

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GOOG-RDGZ-00015004                     GOOG-RDGZ-00203679                      GOOG-RDGZ-00128280
GOOG-RDGZ-00020680                     GOOG-RDGZ-00014578                      GOOG-RDGZ-00128911
GOOG-RDGZ-00130381                     GOOG-RDGZ-00014578                      GOOG-RDGZ-00129042
GOOG-RDGZ-00014556                     GOOG-RDGZ-00020680                      GOOG-RDGZ-00129084
GOOG-RDGZ-00024709                     GOOG-RDGZ-00020740                      GOOG-RDGZ-00130745
GOOG-RDGZ-00130322                     GOOG-RDGZ-00024690                      GOOG-RDGZ-00131231
GOOG-RDGZ-00089546                     GOOG-RDGZ-00024709                      GOOG-RDGZ-00131856
GOOG-RDGZ-00116371                     GOOG-RDGZ-00025713                      GOOG-RDGZ-00139579
GOOG-RDGZ-00039094                     GOOG-RDGZ-00025811                      GOOG-RDGZ-00151568
GOOG-RDGZ-00171164                     GOOG-RDGZ-00033244                      GOOG-RDGZ-00156520
GOOG-RDGZ-00087964                     GOOG-RDGZ-00037515                      GOOG-RDGZ-00159759
GOOG-RDGZ-00044478                     GOOG-RDGZ-00041092                      GOOG-RDGZ-00160654
GOOG-RDGZ-00129096                     GOOG-RDGZ-00044356                      GOOG-RDGZ-00164257
GOOG-RDGZ-00090236                     GOOG-RDGZ-00047446                      GOOG-RDGZ-00164312
GOOG-RDGZ-00046896                     GOOG-RDGZ-00052671                      GOOG-RDGZ-00168139
GOOG-RDGZ-00151484                     GOOG-RDGZ-00059283                      GOOG-RDGZ-00169704
GOOG-RDGZ-00059486                     GOOG-RDGZ-00087672                      GOOG-RDGZ-00180854
GOOG-RDGZ-00046758                     GOOG-RDGZ-00087914                      GOOG-RDGZ-00181801
GOOG-RDGZ-00185669                     GOOG-RDGZ-00089546                      GOOG-RDGZ-00182573
GOOG-RDGZ-00061316                     GOOG-RDGZ-00090741                      GOOG-RDGZ-00184488
GOOG-RDGZ-00031656                     GOOG-RDGZ-00118026                      GOOG-RDGZ-00188868
GOOG-RDGZ-00149701                     GOOG-RDGZ-00126932


                                                                                                KEEGAN_EXHIBITS_14
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Exhibit 3—Questionnaire (Screen Shots)




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                                                          KEEGAN_EXHIBITS_25
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                                                          KEEGAN_EXHIBITS_30
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Exhibit 4—Questionnaire (Editor Export)




                                                           KEEGAN_EXHIBITS_33
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Start of Block: Intro


Q1 Please complete the CAPTCHA below.



Page Break




                                                                KEEGAN_EXHIBITS_34
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Q2 Thank you for agreeing to participate in this anonymous survey. The survey is for research
purposes only. Your responses will be held confidential and we are not trying to sell you
anything.

 The survey will take just a few minutes of your time. Before we begin, please read the following
instructions:

 • This survey makes use of images. If you are currently using a device that does not have
image capabilities, please stop now and resume this survey when you have access to a
compatible device.

• If you typically wear eyeglasses when reading information or looking at pictures or videos on
your electronic device, please put them on now and wear them through the remainder of this
survey.

• If you don't know the answer, don't recall, or don't have an opinion on any of the questions that
follow, please feel free to select that answer when provided. We do not want you to guess at
any of your answers.

• Please do not look up answers to any of the survey questions on the Internet or consult with
any other persons regarding your survey answers.

• Your browser's back button will be disabled during the survey. Please use the "Next" button
within the survey to advance through the questionnaire.


Do you agree to follow the instructions provided above?

   o I agree (1)
   o I do not agree (2)
   o Don't know (3)
End of Block: Intro

Start of Block: Age | State




                                                                           KEEGAN_EXHIBITS_35
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Q3 Which of the following age brackets contains your age on your last birthday?

   o Under 18 (1)
   o 18 - 30 (2)
   o 31 - 40 (3)
   o 41 - 50 (4)
   o 51 - 60 (5)
   o 61 - 70 (6)
   o 71 or older (7)
Skip To: End of Block If Age = Under 18


Page Break




                                                                        KEEGAN_EXHIBITS_36
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Q4 In which U.S. state do you currently reside?

▼ Alabama (1) ... None of these (53)


End of Block: Age | State

Start of Block: Gender



Q5 What is your gender?

   o Male (1)
   o Female (2)
   o Non-binary or other (3)
   o Prefer not to answer (4)
End of Block: Gender

Start of Block: Instruction


Q6 For the remainder of this survey, if you do not know or do not have an opinion about any of
the questions, please select the "don't know / no opinion" answer option. Please do not guess at
any of your answers and please do not use the Internet or any other sources to inform your
answers.


Click the "Next" button below to continue.


End of Block: Instruction

Start of Block: Primary Device




                                                                         KEEGAN_EXHIBITS_37
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Q7 Which of the following applies to you personally?



   o I do currently have a smartphone for my own personal use (1)
   o I do not currently have a smartphone for my own personal use (2)
   o Don't know (3)
Skip To: End of Block If Smartphone != I <b>do</b> currently have a smartphone for my own personal
use


Page Break




                                                                            KEEGAN_EXHIBITS_38
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Q8
For the remainder of the survey the smartphone that you have for your own personal use will be
referred to as your "primary device."




What operating system do you have on your primary device?

   o iOS (Apple iPhone) (1)
   o Android (Samsung, Google Pixel, etc.) (2)
   o Other (Windows, Blackberry, etc.) (3)
   o Don't know (4)
Page Break




                                                                        KEEGAN_EXHIBITS_39
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Q9
How long have you had your primary device?

   o One month or less (1)
   o More than one month but less than one year (2)
   o One year to five years (3)
   o More than five years (4)
   o Don't know (5)
Page Break




                                                                       KEEGAN_EXHIBITS_40
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Q10 Which of the following most accurately describes your primary device?



   o My primary device replaced my previous smartphone (1)
   o I maintain my primary device in addition to another smartphone or smartphones (2)
   o My primary device is my first smartphone (3)
   o Other (4)
   o Don't know (5)
End of Block: Primary Device

Start of Block: Google Accounts



Q11 Do you currently have one or more Google Gmail e-mail accounts? A Gmail account is an
e-mail account that has an e-mail address that ends in @gmail.com.

   o I do have one or more Gmail e-mail accounts (1)
   o I do not have one or more Gmail e-mail accounts (2)
   o Don't know (3)
Page Break




                                                                       KEEGAN_EXHIBITS_41
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Display This Question:
    If Gmail threshold = I <b>do</b> have one or more Gmail e-mail accounts



Q12 How many Gmail e-mail accounts do you currently have?

   o 1 (1)
   o 2 (2)
   o 3 (3)
   o 4 (4)
   o 5 or more (5)
   o Don't know (6)
End of Block: Google Accounts

Start of Block: Number of Devices


Q13 How many of each of the following personal mobile devices do you currently use?




Q14 Apple iPhone (iOS)


Display This Choice:
    If Operating system != iOS (Apple iPhone)

   o 0 (1)
   o 1 (2)
   o 2 (3)
   o 3 or more (4)


                                                                              KEEGAN_EXHIBITS_42
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Q15 Apple iPad (iOS)



   o 0 (1)
   o 1 (2)
   o 2 (3)
   o 3 or more (4)

Q16 Android phone (Samsung, Google Pixel, etc.)


Display This Choice:
    If Operating system != Android (Samsung, Google Pixel, etc.)

   o 0 (1)
   o 1 (2)
   o 2 (3)
   o 3 or more (4)

Q17 Android tablet (Samsung, Lenovo, etc.)



   o 0 (1)
   o 1 (2)
   o 2 (3)
   o 3 or more (4)

                                                                             KEEGAN_EXHIBITS_43
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End of Block: Number of Devices

Start of Block: Data integrity - Green



Q18 Please type "green" in the box below.

    ________________________________________________________________


End of Block: Data integrity - Green

Start of Block: Demographics



Q19 Now, a few more questions for classification purposes only. Which of the following best
describes your educational background?

   o Less than high school (1)
   o High school graduate (2)
   o Some college (3)
   o 2-year degree (4)
   o 4-year degree (5)
   o Master's / Professional degree (6)
   o Doctorate (7)
Page Break




                                                                         KEEGAN_EXHIBITS_44
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Q20 Which of the following includes your household's approximate annual income in 2022?

   o Under $35,000 (1)
   o $35,000 - $49,999 (2)
   o $50,000 - $74,999 (3)
   o $75,000 - $99,999 (4)
   o $100,000 - $124,999 (5)
   o $125,000 - $149,999 (6)
   o $150,000 or more (7)
   o I prefer not to answer (8)


End of Block: Demographics




                                                                       KEEGAN_EXHIBITS_45
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Exhibit 5—Tabulated Data




                                                          KEEGAN_EXHIBITS_46
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Q1 - CAPTCHA


Q2 - Do you agree to follow the instructions provided above?




#                                       Answer                        %               Count

1                                        I agree               100.0%                 1039

2                                 I do not agree                    0.0%                 0

3                                   Don't know                      0.0%                 0

                                          Total                     100%              1039




                                                                    KEEGAN_EXHIBITS_47
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Q3 - Which of the following age brackets contains your age on your last birthday?




#                                     Answer                        %                   Count

1                                   Under 18                   0.0%                        0

2                                      18 - 30                18.7%                      194

3                                      31 - 40                22.1%                      230

4                                      41 - 50                12.6%                      131

5                                      51 - 60                19.8%                      206

6                                      61 - 70                17.9%                      186

7                                  71 or older                 8.9%                       92

                                         Total                100%                      1039




                                                                    KEEGAN_EXHIBITS_48
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Q4 - In which U.S. state do you currently reside?




#                                                    Answer                  %            Count

1                                                   Alabama                1.4%             15

2                                                     Alaska               0.2%               2

3                                                    Arizona               3.5%             36

4                                                   Arkansas               1.8%             19

5                                               California                 8.7%             90

6                                                   Colorado               3.6%             37
                                                                         KEEGAN_EXHIBITS_49
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7                                        Connecticut                0.9%               9

8                                           Delaware                0.4%               4

9                                 District of Columbia              0.2%               2

10                                            Florida               8.3%           86

11                                            Georgia               3.7%           38

12                                             Hawaii               0.3%               3

13                                              Idaho               0.5%               5

14                                             Illinois             4.4%           46

15                                            Indiana               2.4%           25

16                                               Iowa               0.4%               4

17                                            Kansas                0.5%               5

18                                          Kentucky                2.2%           23

19                                          Louisiana               1.3%           13

20                                             Maine                0.3%               3

21                                          Maryland                1.2%           12

22                                    Massachusetts                 1.5%           16

23                                          Michigan                2.9%           30

24                                         Minnesota                1.3%           14

25                                         Mississippi              0.9%               9

26                                           Missouri               2.0%           21

27                                          Montana                 0.1%               1

28                                          Nebraska                0.7%               7

29                                            Nevada                1.8%           19

30                                   New Hampshire                  0.7%               7

31                                        New Jersey                2.8%           29

32                                       New Mexico                 0.4%               4

33                                          New York                5.4%           56

34                                     North Carolina               3.6%           37

35                                      North Dakota                0.1%               1

36                                               Ohio               3.4%           35


                                                                  KEEGAN_EXHIBITS_50
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37                                        Oklahoma                  0.9%               9

38                                            Oregon                1.0%             10

39                                     Pennsylvania                 5.0%             52

40                                     Rhode Island                 0.6%               6

41                                    South Carolina                1.4%             15

42                                     South Dakota                 0.2%               2

43                                       Tennessee                  1.7%             18

44                                              Texas               8.2%             85

45                                              Utah                1.3%             13

46                                         Vermont                  0.1%               1

47                                            Virginia              2.8%             29

48                                      Washington                  0.9%               9

49                                     West Virginia                0.6%               6

50                                        Wisconsin                 1.9%             20

51                                        Wyoming                   0.1%               1

52                                             Other                0.0%               0

53                                    None of these                 0.0%               0

                                                Total              100%            1039




                                                                  KEEGAN_EXHIBITS_51
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Q5 - What is your gender?




#                                               Answer                    %            Count

1                                                  Male                50.0%            519

2                                               Female                 49.7%            516

3                                   Non-binary or other                 0.4%               4

4                                   Prefer not to answer                0.0%               0

                                                   Total               100%            1039




                                                                      KEEGAN_EXHIBITS_52
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Q7 - Which of the following applies to you personally?




#                                                                          Answer        %    Count

1                         I do currently have a smartphone for my own personal use    96.0%    997

2                      I do not currently have a smartphone for my own personal use    3.3%     34

3                                                                       Don't know     0.8%      8

                                                                              Total   100%    1039




                                                                           KEEGAN_EXHIBITS_53
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Q8 - What operating system do you have on your primary device?




#                                                             Answer             %        Count

1                                                  iOS (Apple iPhone)         48.1%        480

2                                Android (Samsung, Google Pixel, etc.)        51.0%        508

3                                   Other (Windows, Blackberry, etc.)          0.1%           1

4                                                         Don't know           0.8%           8

                                                                 Total        100%         997




                                                                         KEEGAN_EXHIBITS_54
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Q9 - How long have you had your primary device?




#                                                                  Answer              %      Count

1                                                       One month or less           3.4%        34

2                               More than one month but less than one year         23.0%       229

3                                                    One year to five years        60.1%       599

4                                                     More than five years         13.0%       130

5                                                              Don't know           0.5%         5

                                                                     Total          100%       997




                                                                         KEEGAN_EXHIBITS_55
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Q10 - Which of the following most accurately describes your primary device?




#                                                                                 Answer        %   Count

1                                     My primary device replaced my previous smartphone     69.8%    696

2           I maintain my primary device in addition to another smartphone or smartphones    6.1%     61

3                                                My primary device is my first smartphone   22.0%    219

4                                                                                  Other     1.0%     10

5                                                                             Don't know     1.1%     11

                                                                                    Total   100%     997




                                                                             KEEGAN_EXHIBITS_56
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Q11 - Do you currently have one or more Google Gmail e-mail accounts? A Gmail account
is an e-mail account that has an e-mail address that ends in @gmail.com.




#                                                                   Answer          %      Count

1                               I do have one or more Gmail e-mail accounts      84.1%      838

2                            I do not have one or more Gmail e-mail accounts     14.3%      143

3                                                                Don't know       1.6%       16

                                                                       Total     100%       997




                                                                         KEEGAN_EXHIBITS_57
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Q12 - How many Gmail e-mail accounts do you currently have?




#                                         Answer                     %                   Count

1                                              1               51.7%                      433

2                                              2               30.0%                      251

3                                              3               10.9%                       91

4                                              4                3.3%                       28

5                                       5 or more               3.8%                       32

6                                   Don't know                  0.4%                        3

                                            Total              100%                       838




#             Field   Mean      Count

1      Gmail number    1.8       838




                                                                     KEEGAN_EXHIBITS_58
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Q14 - How many of each of the following personal mobile devices do you currently use? -
Apple iPhone




#                                       Answer                      %                    Count

1                                               0                48.7%                    486

2                                               1                46.0%                    459

3                                               2                 3.9%                     39

4                                     3 or more                   1.3%                     13

                                          Total                  100%                     997




#                      Field   Mean     Count

1      Number - Apple iPhone    1.1       997




                                                                        KEEGAN_EXHIBITS_59
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Q15 - How many of each of the following personal mobile devices do you currently use? -
Apple iPad




#                                     Answer                      %                    Count

1                                            0                 68.7%                    685

2                                            1                 27.7%                    276

3                                            2                  2.9%                     29

4                                   3 or more                   0.7%                       7

                                        Total                  100%                     997




#                    Field   Mean    Count

1      Number - Apple iPad    1.1     997




                                                                      KEEGAN_EXHIBITS_60
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Q16 - How many of each of the following personal mobile devices do you currently use? -
Android phone




#                                        Answer                  %                    Count

1                                             0               43.2%                    431

2                                             1               48.9%                    488

3                                             2                5.7%                     57

4                                      3 or more               2.1%                     21

                                           Total              100%                     997




#                       Field   Mean      Count

1      Number - Android phone    1.2        997




                                                                     KEEGAN_EXHIBITS_61
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Q17 - How many of each of the following personal mobile devices do you currently use? -
Android tablet




#                                         Answer                  %                    Count

1                                              0               70.1%                    699

2                                              1               26.5%                    264

3                                              2                2.7%                     27

4                                       3 or more               0.7%                       7

                                            Total              100%                     997




#                        Field   Mean     Count

1      Number - Android tablet    1.1       997




                                                                      KEEGAN_EXHIBITS_62
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Q18 - Please type "green" in the box below.


Q19 - Which of the following best describes your educational background?




#                                                          Answer              %         Count

1                                             Less than high school         1.9%           20

2                                             High school graduate         21.8%          226

3                                                    Some college          22.4%          233

4                                                    2-year degree         13.0%          135

5                                                    4-year degree         26.7%          277

6                                   Master's / Professional degree         11.0%          114

7                                                        Doctorate          3.3%           34

                                                              Total         100%         1039


                                                                        KEEGAN_EXHIBITS_63
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Q20 - Which of the following includes your household's approximate annual income in
2022?




#                                                 Answer                  %            Count

1                                          Under $35,000               21.2%            220

2                                      $35,000 - $49,999               17.1%            178

3                                      $50,000 - $74,999               22.2%            231

4                                      $75,000 - $99,999               15.3%            159

5                                    $100,000 - $124,999                7.0%             73

6                                    $125,000 - $149,999                6.8%             71

7                                      $150,000 or more                 8.1%             84

8                                   I prefer not to answer              2.2%             23

                                                    Total               100%           1039

                                                                      KEEGAN_EXHIBITS_64
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Exhibit 6—Untabulated Data

Produced electronically.




                                                             KEEGAN_EXHIBITS_65
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Exhibit 7—Disposition of Contacts




                                                           KEEGAN_EXHIBITS_66
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Disposition of Contacts - Anibal Rodriguez, et al. v. Google, LLC

                                                                        n                %
Responded to invitation                                             1,193           100.0%

Rejected - failed instruction acknowledgement question                104             8.7%
Rejected - failed age question (under 18)                              17             1.4%
Rejected - failed - did not select a state                              0             0.0%
Rejected - low quality - failed security question ("Green")             8             0.7%
Rejected - speeder                                                      3             0.3%
Rejected - overquota                                                   22             1.8%
Total qualified respondents                                         1,039            87.1%




                                                                               KEEGAN_EXHIBITS_67
